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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

  HOPE VANDROSS,                                     Case No.: 1:20-cv-03595-TJK

                     Plaintiff,
             v.

 CHRONICLE OF HIGHER EDUCATION,
 INC. (The),

                     Defendant.



                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to the Federal Rules of Civil Procedure Rule 41(a)(1)(A)(ii), Plaintiff, Hope
VanDross, and Defendant, Chronicle of Higher Education, Inc., jointly stipulate to the voluntary
dismissal of all claims with prejudice in the above-captioned civil action, with each side to bear
its own attorneys’ fees and costs.

DATED: December 3, 2021,

Respectfully Submitted,

 /s/ Ryan A. Hintzen                                 /s/ Eric Paltell
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                                                     Inc.
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 3, 2021, a copy of the foregoing was filed in
compliance with this Court’s electronic filing requirements, and in accordance therewith was
served electronically to the following pertinent parties of record in this matter:

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                                                        Respectfully Submitted,

                                                        /s/ Ryan A. Hintzen____
                                                        Ryan A. Hintzen, Esq.
